
PER CURIAM
Respondent and the Office of Disciplinary Counsel ("ODC") submitted a joint *873petition for consent discipline, in which respondent acknowledges that he violated Rules 3.3(a)(1), 3.3(a)(2), 8.4(a), and 8.4(d) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Ernest L. Johnson, Louisiana Bar Roll number 7290, be suspended from the practice of law for a period of six months, fully deferred.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
Genovese, J., would reject consent discipline.
